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 5

 6                          UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF NEVADA
 7

 8   In re:                                               Case No. 21-14486-abl
                                                          Chapter 7
 9   INFINITY CAPITAL MANAGEMENT, INC.
     dba INFINITY HEALTH CONNECTIONS,                     MOTION TO APPROVE
10
                                                          SETTLEMENT
11                           Debtor.

12

13            Chapter 7 trustee ROBERT E. ATKINSON (“Trustee”), by and through counsel,
14   hereby moves this Court for an order approving a settlement agreement, pursuant to Fed. R.
15   Bankr. P. 9019, by and between: the Trustee and above-captioned bankruptcy estate, on the
16   one hand, and individuals OLIVER HEMMERS (“Oliver”) and ANNE PANTELAS
17   (“Anne”), on the other hand, resolving the two vehicles identified in the Debtor’s schedules.
18            This motion is based on: the Memorandum of Points and Authorities contained herein;
19   the pleadings and papers on file in this case; the attached exhibit; the supporting Declaration of
20   Robert E. Atkinson (“Trustee’s Decl.”) filed contemporaneously herewith; and any oral
21   arguments made at the time of hearing on this matter.
22
     DATED: November 18, 2021                      ATKINSON LAW ASSOCIATES LTD.
23
                                                   By:        /s/ Clarisse Crisostomo
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                                                         CLARISSE L. CRISOSTOMO, ESQ.
25                                                       Nevada Bar No. 15526
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 1
                        MEMORANDUM OF POINTS AND AUTHORITIES
 2

 3                                 I.      BACKGROUND FACTS

 4       1.     On September 14, 2021 (“Petition Date”), Debtor filed a voluntary chapter 7

 5   bankruptcy petition, initiating bankruptcy case no. 21-14486-abl (the “Bankruptcy Case”)

 6   and creating the above-captioned bankruptcy estate (the “Bankruptcy Estate”). [DE #1.]

 7       2.     Debtor’s schedules identify a 50% ownership interest in a 2016 Honda Odyssey

 8   (the “Odyssey”), and a 50% ownership interest in a 2011 Honda Pilot (the “Pilot”)

 9   (collectively as the “Vehicles”), neither of which have a loan on them. [DE #1 at Schedule

10   A/B.]

11       3.     The Debtor provided to the Trustee copies of titles to the Vehicles, which show that

12   title to the Vehicles are “Or”-type titles, i.e., the Odyssey is held in the name of INFINITY

13   CAPITAL MANAGEMENT OR OLIVER HEMMERS, and title to the Pilot is held in the

14   name of INFINITY CAPITAL MANAGEMENT OR ANNE PANTELAS. [Trustee’s Decl.

15   at ¶ 3.]

16       4.     At the Section 341 meeting held in this case, Oliver and Anne acknowledge that the

17   Debtor paid for Odyssey and the Pilot, but that these vehicle payments were part of fringe

18   benefits to them paid for by the company and that the cars are in fact their personal cars. [Id.

19   at ¶ 4.]

20       5.     Oliver and Anne represent that the Pilot is not in good shape and is worth only

21   approximately $1,000, but that the Odyssey is worth the Kelley Blue Book value ($19,570).

22   [Id. at ¶ 5.]

23       6.     After a review of their respective claims and defenses, the parties have agreed to

24   resolve this matter in accordance with the terms of the settlement agreement described below.

25
                             II.        TERMS OF THE SETTLEMENT
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         7.     The parties have agreed to resolve their disputes. The terms of that settlement are
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     memorialized in a written settlement agreement (the “Agreement”), which is attached hereto as
28
     EXHIBIT 1.


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 1
        8.    A summary of the material terms of the Agreement agreed to by the parties thereto is:
 2
                   (a)     Payment; Payment Terms. Oliver shall pay the Bankruptcy Estate
 3            $9,785.00 for the Odyssey and Anne shall pay $500.00 for the Pilot, totaling
 4
              $10,285.00 (the “Settlement Funds”).

 5                  (b)   Vesting of Title to Vehicles. Title to the Vehicles shall vest solely in
              the names of the individuals (i.e., Oliver for the Odyssey, and Anne for the Pilot).
 6
        9.    The foregoing is merely a summary of certain of the material terms of the settlement
 7
     and is qualified in its entirety by the Agreement itself, which contains many provisions, terms,
 8
     and conditions.
 9

10
                          III.    LEGAL AUTHORITIES & ARGUMENT
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        10.   Pursuant to Bankruptcy Rule 9019, the Court may approve a proposed compromise
12
     of a claim, after notice and a hearing. See Fed. R. Bankr. P. 9019(a).
13
        11.   The Bankruptcy Court is afforded great latitude in approving compromise
14
     agreements. However, the Court’s discretion is not unlimited; compromises must also be fair
15
     and equitable. Woodson v. Fireman's Fund Ins. Co. (In re Woodson), 839 F.2d 610, 620 (9th
16
     Cir. 1988). Such agreements must also be reasonable under the particular circumstances of
17
     the case, and in the estate’s best interests. In re Mickey Thompson Entertainment Group,
18
     Inc., 292 B.R. 415, 420 (B.A.P. 9th Cir. 2003).
19
        12.   In reviewing proposed compromises, “courts need not rule upon disputed facts and
20
     questions of law, but rather only canvass the issues. A mini trial on the merits is not
21
     required.” Burton v. Ulrich (In re Schmitt), 215 B.R. 417, 423 (9th Cir. B.A.P. 1997); see
22
     also In re Hyloft Inc., 451 B.R. 104, 109 (Bankr.Nev., 2011).
23
        13.   In deciding whether to approve a proposed settlement, the bankruptcy court must
24
     make an informed decision; the court must independently make a finding that the
25
     compromise is reasonable, fair and equitable. Hyloft, 451 B.R. at 109.
26
        14.   In determining the whether a proposed compromise is fair and reasonable, the Court
27
     should consider the following four factors (each, an “A&C Factor”):
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 1                   (a) The probability of success in the litigation; (b) the difficulties,
                     if any, to be encountered in the matter of collection; (c) the
 2
                     complexity of the litigation involved, and the expense,
 3                   inconvenience and delay necessarily attending it; (d) the
                     paramount interest of the creditors and a proper deference to their
 4                   reasonable views in the premises.
 5
     Martin v. Kane (In re A & C Properties), 784 F.2d 1377, 1381 (9th Cir. 1986); see also
 6
     Woodson, 839 F.2d at 620; Mickey Thompson, 292 B.R. 415 at 420.
 7
         15.   Overall, the A&C Factors favor approval of the proposed compromise. Each are
 8
     analyzed below.
 9

10   A. Probability of Success in the Litigation
11       16.   As discussed above, the “Or” nature of the title creates a significant complexity,

12   namely, that the legal title to the Vehicles could be deemed to be either Debtor, or the

13   individual. A half-half interpretation is also possible.

14       17.   The equity in the Vehicles was paid for by Debtor, however, Oliver or Anne argue

15   that those payments were a fringe benefit for their full enjoyment. If this matter were litigated,

16   the Trustee would struggle to prove otherwise, because Oliver and Anne are essentially the

17   only fact witnesses and so the Trustee would have to depend more on circumstantial evidence.

18       18.   The Trustee believes that the settlement is an excellent tradeoff that benefits the estate

19   without having to expose the estate to the vagaries of litigation on low-value assets, and also

20   the money paid is within the range of reasonable outcomes if this matter were litigated.

21       19.   Therefore, the first A&C Factor favors approval of the settlement.

22
     B. Difficulties in Collection
23
         20.   Because the Agreement relates to two vehicles, collection is not an issue except for
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     turnover issues: the Court would have to decide whether Oliver and Anne could keep driving
25
     the Vehicles while this matter were litigated. Accordingly, the second A&C Factor is either
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     slightly in favor of the settlement, or not relevant for this particular settlement.
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 1   C. Complexity, Expense, Delay, and Inconvenience of the Litigation
 2         21.   Pursuing and litigating the title dispute would be time-consuming and costly to all
 3   sides, relative to the value of the Vehicles. Adjudication of this issue would require an
 4   adversary proceeding against Oliver and Anne. In contrast, approval of this motion would
 5   mean that the Trustee can quickly and efficiently liquidate the Bankruptcy Estate’s interest in
 6   the Property for the benefit of the estate and creditors with significantly lower costs.
 7   Accordingly, the third A&C Factor considerably favors approval of the settlement.
 8
     D. Interests of the Creditors
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           22.   The proposed settlement is in the best interests of the creditors because it
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     maximizes the return to creditors. As noted above, if active litigation occurs, then the costs
11
     of litigating may quickly escalate, and in such instance the net recovery to unsecured
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     creditors will be much smaller than they will receive if the settlement is approved; indeed, if
13
     the Trustee were to litigate and win, the net recovery might be less than zero, after factoring
14
     in litigation costs, storage costs, insurance, auction fees, etc.
15
           23.   The Trustee thus believes settlement results in a quick, fair, and reasonable
16
     recovery for the general unsecured creditors of the estate, factoring in the overall recovery,
17
     the expectations for collection, and, most importantly, the significant relative cost associated
18
     with trying to litigate the issues raised regarding the Vehicles outside of this settlement.
19
     [Trustee’s Decl. at ¶ 6.]
20
           24.   Accordingly, the proposed compromise is in the best interest of the creditors of
21
     the Bankruptcy Estate, and that the fourth A&C Factor favors settlement.
22

23   E. Conclusion
           25.   For the reasons stated above, the Trustee, in his business judgment: (i) asserts that
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     he has made an informed decision in entering into the Agreement; (ii) believes that the
25
     settlement between the parties (as evidenced by the Agreement) is fair, equitable, and
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     reasonable; and (iii) believes that approval of the Agreement is in the best interests of the
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     Bankruptcy Estate and its creditors. [Id. at ¶ 7.]
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 1
                                  IV.     RELIEF REQUESTED
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          26.   The Trustee respectfully requests that the Court approve the Agreement, pursuant
 3
     to Bankruptcy Rule 9019, the A&C Factors, and other applicable law as discussed above.
 4
                                              #####
 5
     DATED: November 18, 2021                    ATKINSON LAW ASSOCIATES LTD.
 6

 7
                                                 By:       /s/ Clarisse Crisostomo
                                                  CLARISSE L. CRISOSTOMO, ESQ.
 8                                                Nevada Bar No. 15526
                                                  Attorney for Robert E. Atkinson, Trustee
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